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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

                              Holding a Criminal Term

             Grand Jury Sworn in on January 8, 2021September 15, 2023

UNITED STATES OF AMERICA                 :   CRIMINAL NO.
                                         :
        v.                               :   MAGISTRATE NO. 1:22-MJ-216CR-354-
                                         :   RCL
RICHARD SLAUGHTER, and                   :
                                         :
CADEN PAUL GOTTFRIED,                    :   VIOLATIONS:
                                         :   18 U.S.C. § 2111
                Defendants.              :   (Robbery)
                                         :   18 U.S.C. §§ 111(a)(1) and (b)
                                         :   (Assaulting, Resisting, or Impeding
                                         :   Certain Officers Using a Dangerous
                                         :   Weapon)
                                         :   18 U.S.C. § 111(a)(1)
                                         :   (Assaulting, Resisting, or Impeding
                                         :   Certain Officers)
                                         :   18 U.S.C. § 231(a)(3)
                                         :   (Civil Disorder)
                                         :   18 U.S.C. § 1752(a)(1) and (b)(1)(A)
                                         :   (Entering and Remaining in a Restricted
                                         :   Building or Grounds with a Deadly or
                                         :   Dangerous Weapon)
                                         :   18 U.S.C. § 1752(a)(1)
                                         :   (Entering and Remaining in a Restricted
                                         :   Building or Grounds)
                                         :   18 U.S.C. § 1752(a)(2) and (b)(1)(A)
                                         :   (Disorderly and Disruptive Conduct in a
                                         :   Restricted Building or Grounds with a
                                         :   Deadly or Dangerous Weapon)
                                         :   18 U.S.C. § 1752(a)(2)
                                         :   (Disorderly and Disruptive Conduct in a
                                         :   Restricted Building or Grounds)
                                         :   18 U.S.C. § 1752(a)(4) and (b)(1)(A)
                                         :   (Engaging in Physical Violence in a
                                         :   Restricted Building or Grounds with a
                                         :   Deadly or Dangerous Weapon)
                                         :   18 U.S.C. § 1752(a)(4)
                                             (Engaging in Physical Violence in a
                                             Restricted Building or Grounds)

                                                                    GOVERNMENT
                                                                      EXHIBIT
                                                                         2
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                                                  :
                                                  :
                                                  :    40 U.S.C. § 5104(e)(2)(F)
                                                       (Act of Physical Violence in the Capitol
                                                       Grounds or Buildings)



                         SUPERSEDING INDICTMENT

        The Grand Jury charges that:

                                          COUNT ONE

        On or about January 6, 2021, at or around 3:47 p.m., within the special maritime and

territorial jurisdiction of the United States, RICHARD SLAUGHTER did by force and

violence, and by intimidation, take and attempt to take from the person or presence of another,

that is, Officer A.A., an officer from the Metropolitan Police Department, a thing of value, that

is, a baton.

        (Robbery, in violation of Title 18, United States Code, Section 2111)


                                         COUNT TWO

        On or about January 6, 2021, at or around 3:59 p.m., within the District of Columbia,

RICHARD SLAUGHTER, using a deadly and dangerous weapon, that is, a stick-like object, did

forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of

the United States, and of any branch of the United States Government (including any member of

the uniformed services), and any person assisting such an officer and employee, while such officer

or employee was engaged in or on account of the performance of official duties, and where the

acts in violation of this section involve physical contact with the victim and the intent to commit

another felony.




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       (Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
       violation of Title 18, United States Code, Sections 111(a)(1) and (b))




                                        COUNT THREE

       On or about January 6, 2021, at approximately 4:04 p.m., within the District of Columbia,

RICHARD SLAUGHTER, using a deadly or dangerous weapon, that is, chemical spray, did

forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of

the United States, and of any branch of the United States Government (including any member of

the uniformed services), and any person assisting such an officer and employee, while such officer

or employee was engaged in or on account of the performance of official duties, and where the

acts in violation of this section involve physical contact with the victim and the intent to commit

another felony.

       (Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon, in
       violation of Title 18, United States Code, Sections 111(a)(1) and (b) and 2)


                                         COUNT FOUR

       On or about January 6, 2021, within the District of Columbia, CADEN PAUL

GOTTFRIED did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an

officer and employee of the United States, and of any branch of the United States Government

(including any member of the uniformed services), and any person assisting such an officer and

employee, while such person was engaged in and on account of the performance of official duties,

and where the acts in violation of this section involve physical contact with the victim and the

intent to commit another felony.



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       (Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
       States Code, Section 111(a)(1))




                                     COUNT FOURFIVE

       On or about January 6, 2021, within the District of Columbia, RICHARD SLAUGHTER

committed and attempted to commit an act to obstruct, impede, and interfere with a law

enforcement officer, lawfully engaged in the lawful performance of his/her official duties incident

to and during the commission of a civil disorder which in any way and degree obstructed, delayed,

and adversely affected commerce and the movement of any article and commodity in commerce

and the conduct and performance of any federally protected function.

       (Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))


                                        COUNT andSIX

       On or about January 6, 2021, within the District of Columbia, CADEN PAUL

GOTTFRIED committed and attempted to commit an act to obstruct, impede, and interfere with

a law enforcement officer, lawfully engaged in the lawful performance of his/her official duties

incident to and during the commission of a civil disorder which in any way and degree obstructed,

delayed, and adversely affected commerce and the movement of any article and commodity in

commerce and the conduct and performance of any federally protected function.

       (Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))



                                        COUNT SEVEN

       (Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))


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                                         COUNT FIVE

        On or about January 6, 2021, in the District of Columbia, RICHARD SLAUGHTER did

knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,

and otherwise restricted area within the United States Capitol and its grounds, where the Vice

President was and would be temporarily visiting, without lawful authority to do so, and, during

and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a stick-

like object.

        (Entering and Remaining in a Restricted Building or Grounds with a Deadly or
        Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and
        (b)(1)(A))


                                      COUNT SIXEIGHT

        On or about January 6, 2021, in the District of Columbia, CADEN PAUL GOTTFRIED

did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-

off, and otherwise restricted area within the United States Capitol and its grounds, where the Vice

President was and would be temporarily visiting, without lawful authority to do so.

        (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
        United States Code, Section 1752(a)(1))


                                     COUNT SEVENNINE

        On or about January 6, 2021, in the District of Columbia, RICHARD SLAUGHTER did

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

within the United States Capitol and its grounds, where the Vice President was and would be



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temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly

conduct of Government business and official functions, and, during and in relation to the offense,

did use and carry a deadly and dangerous weapon, that is, a stick-like object.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a
       Deadly or Dangerous Weapon, in violation of Title 18, United States Code, Section
       1752(a)(2)) and (b)(1)(A))




                                        COUNT EIGHTTEN

       On or about January 6, 2021, in the District of Columbia, CADEN PAUL

GOTTFRIEGOTTFRIED did knowingly, and with intent to impede and disrupt the orderly

conduct of Government business and official functions, engage in disorderly and disruptive

conduct in and within such proximity to, a restricted building and grounds, that is, any posted,

cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where

the Vice President was and would be temporarily visiting, when and so that such conduct did in

fact impede and disrupt the orderly conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in
       violation of Title 18, United States Code, Section 1752(a)(2))


                                        COUNT NINEELEVEN

       On or about January 6, 2021, in the District of Columbia, RICHARD SLAUGHTER did

knowingly engage in any act of physical violence against any person and property in a restricted

building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the

United States Capitol and its grounds, where the Vice President was and would be temporarily

visiting and, during and in relation to the offense, did use and carry a deadly and dangerous

weapon, that is, a stick-like object.

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       (Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly or
       Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(4) and
       (b)(1)(A))


                                   COUNT TENTWELVE

       On or about January 6, 2021, in the District of Columbia, CADEN PAUL GOTTFRIED

did knowingly engage in any act of physical violence against any person and property in a

restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

within the United States Capitol and its grounds, where the Vice President was and would be

temporarily visiting.

       (Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
       Title 18, United States Code, Section 1752(a)(4))



                                COUNT ELEVENTHIRTEEN

       On or about January 6, 2021, in the District of Columbia, RICHARD SLAUGHTER and

CADEN PAUL GOTTFRIED willfully and knowingly engaged in an act of physical violence

within the United States Capitol Grounds and any of the Capitol Buildings.

       (Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
       United States Code, Section 5104(e)(2)(F))




                                            A TRUE BILL:



                                            FOREPERSON.




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Attorney of the United States in
and for the District of Columbia.




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